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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 Natalie Lager,                                    MEMORANDUM DECISION AND
                                                   ORDER DENYING MOTION FOR
                        Plaintiff,                 SUMMARY JUDGMENT
 v.
                                                   Case No. 2:20-cv-00180-DB-DBP
 Andrew Saul
 Commissioner of Social Security,                  District Judge Dee Benson

                        Defendant.                 Chief Magistrate Judge Dustin B. Pead


       This is an administrative appeal to review a decision of the Commissioner of Social

Security denying Plaintiff’s claim for benefits. (ECF No. 4.) On November 3, 2020, Plaintiff

filed a Motion for Summary Judgment. (ECF No. 31.) Local Rule 7-4 provides the following:

       (1) In all cases in which a plaintiff files a complaint or petition seeking judicial
       review of an administrative agency's decision under an “arbitrary and capricious”
       or “substantial evidence” standard of review, the following pleadings are not
       appropriate and must not be filed with the court:

       (A) an answer to the complaint;

       (B) a motion for judgment on the pleadings;

       (C) a motion for summary judgment; or

       (D) a motion to affirm or reverse the agency's decision.

DUCivR 7-4. Plaintiff’s pleading fails to comply with this rule. Accordingly, it is DENIED.

Plaintiff’s counsel is directed to follow the Local Rules and file the appropriate pleading.

                  DATED this 9 November 2020.




                                              Dustin B. Pead
                                              United States Magistrate Judge
